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Kim Nott

Woodstock, OH 43084
re: Jessica Watkins

Honorable Judge,
I have known Jessica Watkins for about 2 years. I was both troubled and surprised about the
recent events and the charges against Jess. It is for this reason I am happy to write this letter
of reference for Jess. I understand the seriousness of the matter, but hope the court will
show some leniency.
Jess has always been an upright character in the community. She kept to herself most days.
When it came to running her establishment, the Jolly Roger, she was a great, positive, and
awesome bartender. She never brought up anything related to the charges against her.
It is very unfortunate that she has made some bad decisions, thus resulting in this case. I
believe her intentions were not what the charges are! She was a trained medic who wanted
to help people. I believe she never set out to hurt anyone.
It is my sincerest hope the court takes this letter into consideration. Despite the current
case, I believe Jessica Watkins to be an honourable individual and a good human being.
Sincerely,
Kim Nott
